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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re                                                              :      Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                                  08-13555 (JMP)
                                                                    :
                                     Debtors.                       :      (Jointly Administered)
                                                                    :
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                ORDER TO SHOW CAUSE TO CONSIDER DEBTORS’
              MOTION PURSUANT TO SECTIONS 105 AND 363 OF THE
            BANKRUPTCY CODE AND FEDERAL RULES OF BANKRUPTCY
           PROCEDURE 6004 AND 9019 FOR APPROVAL OF THAT CERTAIN
       SETTLEMENT AMONG THE LEHMAN PARTIES AND THE SUNCAL PARTIES

                     Upon the motion, dated October 24, 2011 (the “Motion”),1 of Lehman Brothers

 Holdings Inc. (“LBHI”) and its affiliated debtors in the above-referenced chapter 11 cases,

 including Lehman Commercial Paper Inc. (“LCPI”), as debtors and debtors in possession

 (together, the “Debtors”), pursuant to sections 105(a) and 363(b) of title 11 of the United States

 Code (the “Bankruptcy Code”) and Rule 9019 of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”), for approval of a settlement among (a) Lehman ALI, Inc., LCPI, OVC

 Holdings LLC, Northlake Holdings LLC and LBHI (collectively, the “Lehman Parties”), and (b)

 SCC Acquisitions, Inc., SCC Acquisitions, LLC, SunCal Management, LLC, Bruce Elieff and

 other principals and affiliates of any of them to be specifically designated by the Lehman Parties

 (collectively, the “SunCal Parties”), all as more fully described in the Motion; and upon the

 Declaration of Alfredo R. Pérez Pursuant to Local Bankruptcy Rule 9077-1(a), dated October 24,

 2011, attesting to the necessity for relief by Order to Show Cause; and it appearing that no notice



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     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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 of this Order to Show Cause need be given, except as provided herein; and after due deliberation

 and sufficient cause appearing therefor, it is hereby

                ORDERED that a hearing (the “Hearing”) to consider the Motion shall be held

 before the Honorable James M. Peck, United States Bankruptcy Judge, in Courtroom 601,

 United States Bankruptcy Court for the Southern District of New York, One Bowling Green,

 New York, New York 10004 on October 27, 2011 at 10:00 a.m. (Prevailing Eastern Time), or

 as soon thereafter as counsel may be heard; and it is further

                ORDERED that notice of the Hearing shall be given by sending a copy of this

 Order to Show Cause, the Motion, and the proposed order on the Motion, via e-mail, fax, or

 overnight mail, on or before October 24, 2011, at 10:00 p.m. (Prevailing Eastern Time), on (i)

 the Office of the United States Trustee for Region 2; (ii) the attorneys for the official committee

 of unsecured creditors appointed in these cases (the “Creditors’ Committee”); (iii) the Securities

 and Exchange Commission; (iv) the Internal Revenue Service; (v) the United States Attorney for

 the Southern District of New York; (vi) attorneys for the respective SunCal Parties; and (viii) all

 parties who have requested notice in these chapter 11 cases, and it appearing that no other or

 further notice need be provided; and it is further

                ORDERED that objections and responses, if any, to the Motion shall be in

 writing, shall conform to the Bankruptcy Rules and the Local Rules of the Bankruptcy Court for

 the Southern District of New York, shall set forth the name of the objecting party, the basis for

 the objection and the specific grounds thereof, shall be filed with the Bankruptcy Court

 electronically in accordance with General Order M-242 (which can be found at

 www.nysb.uscourts.gov) by registered users of the Bankruptcy Court’s case filing system and by

 all other parties in interest, on a 3.5 inch disk, preferably in Portable Document Format (PDF),




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 WordPerfect, or any other Windows-based word processing format (with two hard copies

 delivered directly to Chambers), and shall be filed with the chambers of the Honorable James M.

 Peck, One Bowling Green, New York, New York 10004, Courtroom 601; and served upon (i)

 Weil Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York 10153, Attn: Alfredo R.

 Pérez, Esq., attorneys for the Debtors; (ii) the Office of the United States Trustee for Region 2,

 33 Whitehall Street, 21st Floor, New York, New York 10004 Attn: Tracy Hope Davis, Esq.,

 Andrea B. Schwartz, Esq., and Elisabetta G. Gasparini, Esq.; (iii) Milbank, Tweed, Hadley &

 McCloy LLP, 1 Chase Manhattan Plaza, New York, New York 10005, Attn: Dennis F. Dunne,

 Esq., Dennis O’Donnell, Esq., and Evan Fleck, Esq., attorneys for the Creditors’ Committee; (iv)

 Rus Miliband & Smith, a Professional Corporation, 2211 Michelson Drive, Seventh Floor,

 Irvine, California 92612, Attn: Ronald Rus, Esq. and Joel S. Milibank, Esq., and Miller

 Barondess, LLP, 1999 Avenue of the Stars, Suite 1000, Los Angeles, California 90067, Attn:

 Louis R. Miller, Esq. and Martin Pritikin, Esq., attorneys for the respective SunCal Parties, so as

 to be so filed and received by no later than October 27, 2011 at 9:00 a.m. (prevailing Eastern

 Time) (the “Objection Deadline”).


 Dated:   New York, New York
          October 24, 2011
                                         s/ James M. Peck
                                       UNITED STATES BANKRUPTCY JUDGE




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